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                                                  THE HONORABLE RONALD B. LEIGHTON
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 8                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 9                                     AT TACOMA

10   SEAN WILSON, individually and on behalf of    NO. 3:18-cv-05277-RBL
     all others similarly situated,
11
                     Plaintiff,                    DEFENDANT PLAYTIKA, LTD.’S
12                                                 REPLY IN SUPPORT OF MOTION TO
           v.                                      CERTIFY ISSUES TO THE
13                                                 WASHINGTON SUPREME COURT
     PLAYTIKA LTD an Israeli limited company,
14   PLAYTIKA HOLDING CORP., a Delaware            MOTION NOTED: APRIL 10, 2020
     corporation, and CAESARS INTERACTIVE
15   ENTERTAINMENT, LLC, a Delaware limited
     liability company,
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                     Defendant.
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26    PLAYTIKA, LTD’S REPLY IN                                                LAW OFFICES
                                                                  CALFO EAKES & OSTROVSKY LLP
      SUPPORT OF MOTION TO CERTIFY                                 1301 SECOND AVENUE, SUITE 2800
                                                                     SEATTLE, WASHINGTON 98101
      Case No. 3:18-cv-05277-RBL                                  TEL (206) 407-2200 FAX (206) 407-2224
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 1   I.       INTRODUCTION

 2            In a case about Washington law that the Washington courts have not conclusively

 3   resolved, Playtika asks that Washington be asked what its laws mean. There is no need to

 4   speculate when there is a procedure to seek a conclusive and binding answer from the

 5   Washington Supreme Court. The Ninth Circuit’s interpretation of Washington’s laws is not

 6   limited to social casino-themed games. A wide range of games, including role-playing and

 7   massive multiplayer online role-playing games (such as God of War, World of Warcraft and

 8   others), involve elements of chance. As a result, the issues raised in this case create uncertainties

 9   across the mobile and online gaming sector. Certifying the issues requested would erase all

10   doubts about the proper interpretation of Washington law, bind all parties, and streamline

11   litigation going forward. In opposition, Wilson does not dispute that he raises a question of

12   Washington law or that the Washington Supreme Court’s view would be binding; nor does he

13   dispute that the answer to the question (if Playtika is correct) would be dipositive of his claims.

14            Playtika acknowledges that this Court has denied PTT’s (“High 5”) motion to certify

15   these state-law issues in High 5’s related case. Playtika acknowledges that its case is in a similar

16   procedural posture to High 5’s. Playtika has read the Court’s Order in that case and tailors its

17   response here (a) to address a few additional issues it asks the Court to consider in light of that

18   order, and (b) to respond to the arguments raised in opposition.

19   II.      ARGUMENT

20            A.     Playtika Properly Incorporated the Briefing in Wilson v. PTT

21            Contrary to Wilson’s argument, Playtika did not incorporate the briefing in Wilson v. PTT

22   to skirt briefing page limitations. (Opposition at 2.) Playtika’s decision to incorporate—rather

23   than restate—High 5’s briefing was driven by respect for the Court’s time, in an effort to spare it

24   the need to re-read substantially the same argument in slightly different words. Playtika’s

25   motion itself is but four and a half pages long and largely a succinct recitation of High 5’s

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 1   arguments and their applicability to Playtika’s case. Unlike two of the cases cited by Wilson,

 2   here Playtika has not incorporated its own briefing but instead sought to save the Court time by

 3   incorporating a motion with similar core issues. See Picu v. Bot, No. C14-0330RSL, 2015 WL

 4   11142691, at *1 n.1 (W.D. Wash. Dec. 14, 2015) (criticizing plaintiff for incorporating its

 5   previous briefing by reference, “effectively presenting an unauthorized thirty-page response

 6   brief”); Heggem v. Snohomish Ct. Corr., No. C11-1333 RSM, 2018 WL 6523019, at *1 (W.D.

 7   Wash. Dec. 12, 2018) (motion for summary judgment that “simply incorporate[d] a prior

 8   [m]otion [for summary judgment], filed three years previously, which was previously denied on

 9   both procedural and substantive grounds”). Finally, in the third case Wilson invokes, the trial

10   court critiqued a defendant’s choice to incorporate a co-defendant’s motion to dismiss in its own

11   motion as “unhelpful” and confusing, but the court ultimately considered the materials

12   incorporated by reference. Forest Glade Homeowners Ass'n v. Allied Mut. Ins. Co., No. C07-

13   1762JLR, 2009 WL 927750, at *1 n.1 (W.D. Wash. Mar. 31, 2009).

14            Playtika’s motion is procedurally proper.1

15            B.       Playtika’s Motion Is Not Time Barred and Serves Judicial Economy

16            Wilson also contends that Playtika is “far too late” in seeking certification at this point,

17   after having filed and received a ruling on its motion to dismiss. (Opposition at 2.) This Court

18   agreed with Wilson’s argument in PTT, but Playtika respectfully requests that the Court consider

19   these additional points in response.

20            As noted in Playtika’s initial motion, the Ninth Circuit has certified questions for state

21   court consideration in a variety of procedural postures, including cases further along than this

22   one. This includes certification to state high courts following appellate rulings on summary

23   judgment. See Sullivan v. Oracle Corp., 557 F.3d 979, 983 (9th Cir. 2009), certified question

24   answered, 51 Cal. 4th 1191 (2011). In Sullivan, the Ninth Circuit detailed its rationale for asking

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      Wilson has requested that the Court consider his response to High 5’s brief. (Opposition at 1.) Playtika does not
26   oppose this request.

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 1   the California Supreme Court for guidance: “[t]he answer to the questions will have considerable

 2   practical importance” on California-based employers and potentially the California labor market.

 3   Id. at 983-84; see also Brady v. Autozone, No. 2:13-cv-01862-RAJ, 2016 WL 7733094, at *1-3

 4   (W.D. Wash. Sept. 6, 2016), certified question answered, 188 Wn.2d 576 (2017) (certifying

 5   question after Ninth Circuit denied review of order denying motion for class certification).

 6   “[W]here state law is unsettled, and the answers to the Court’s questions are dispositive of the

 7   issues, certification to the state supreme court is appropriate.” Id. at *1. Wilson’s assertion that it

 8   is “far too late” for Playtika to have issues certified is simply wrong.

 9          As Sullivan and Brady demonstrate, a case with a significantly developed procedural

10   posture can be certified where appropriate. Here, it is. The question of whether the award of

11   virtual items that have no monetary value in themselves and simply serve to provide further

12   entertainment, when that entertainment is available for free even without that award, is

13   fundamental to the mobile and online “freemium” game economy. Games of all types utilize

14   this mechanism, and, contrary to the Court’s understanding as set forth in its ruling on High 5’s

15   motion, (Wilson v. PTT, LLC, 3:18-cv-05275, Dkt. No. 134 at 4 (W.D. Wash. Apr. 6, 2020))

16   (“High 5 Order”), many non-casino-themed games utilize chance in a way that would be

17   implicated by resolution of these questions. The issues on which Playtika seeks certification are

18   fundamental to Washington’s regulation of gaming – a quintessentially state function. See, e.g.,

19   Murphy v. Nat'l Collegiate Athletic Ass'n, 138 S. Ct. 1461, 1484-85 (2018) (“The legalization of

20   sports gambling requires an important policy choice, but the choice is not ours to make.

21   Congress can regulate sports gambling directly, but if it elects not to do so, each State is free to

22   act on its own.”).

23           Wilson calls the motion to certify “time-wasting and unfair” (see Opposition at 3), but

24   Wilson—not Playtika—chose to use a federal forum to adjudicate novel Washington gambling

25   law issues. See Hinojos v. Kohl’s Corp., 718 F.3d 1098, 1108-09 (9th Cir. 2013) (in dicta,

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 1   criticizing party who moved for certification after removing the case to federal court). And

 2   Playtika filed its motion to dismiss on several grounds, including a forum-selection provision

 3   that, had it been granted, would have removed this case from this forum. Indeed, had Playtika

 4   submitted that motion and declined to raise the state-law issues, Wilson might have argued that

 5   those issues had been waived and could not be contested until summary judgment or a motion for

 6   judgment on the pleadings. Fed. R. Civ. P. 12(h). Playtika should not be faulted for having acted

 7   to preserve its rights as part of a multi-faceted motion to dismiss. This is far different from

 8   Playtika being “allowed a second chance at victory through certification.” (High 5 Order at 3

 9   (citing Hinojos, 718 F.3d at 1109).) Additionally, Playtika is not attempting to avoid a final

10   judgment through its certification motion. See Thompson v. Paul, 547 F.3d 1055, 1064-65 (9th

11   Cir. 2008) (denying a party’s motion for certification following the dismissal of all of her

12   claims).

13          Now, before engaging in lengthy merits discovery and motions practice, Playtika asks the

14   Court to consider the very significant implications of these state-law issues to the mobile and

15   online gaming sector writ large and to Washington’s interests in regulating gaming activity, and

16   certify those questions to the Washington Supreme Court.

17          C.      Consideration of the Murray Factors Favors Certification

18          The Ninth Circuit considers four factors when deciding to certify issues: “(1) whether the

19   question presents ‘important public policy ramifications’ yet unresolved by the state court; (2)

20   whether the issue is new, substantial, and of broad application; (3) the state court’s caseload; and

21   (4) ‘the spirit of comity and federalism.’” Murray v. BEJ Minerals, LLC, 924 F.3d 1070, 1072

22   (9th Cir. 2019), certified question accepted, No. OP 19-0304, 2019 WL 2383604 (Mont. June 4,

23   2019) (citing Kremen v. Cohen, 325 F.3d 1035, 1037-38 (9th Cir. 2003)). The High 5 Order

24   discusses the fourth factor, noting the “regulation of gambling is a state function and the highest

25   state court should be the one to decide whether a new category of games meets the definition of

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 1   illegal gambling.” Id. at 3-4. Playtika urges the Court to provide equal consideration to the other

 2   factors as well.

 3           To the first factor, as discussed in the previous section, important public policy

 4   ramifications are present. An overly broad interpretation of Washington gambling law could

 5   effectively wall off Washington consumers from a variety of games that would be enjoyed by

 6   others throughout the country. To the second factor, the issues at hand are new and substantial,

 7   involving the application of pre-digital laws to the post-digital world. And, again, bringing

 8   social and online gaming under the ambit of Washington gambling law has the potential for

 9   broad application. Finally, to the third factor, High 5 pointed out that Washington Supreme

10   Court “filings are down overall and that federal courts had certified only five cases.” Wilson v.

11   PTT, LLC, 3:18-cv-05275, Dkt. No. 103 at 10 (W.D. Wash. Mar. 2, 2020). In conjunction with

12   the federalism issues recognized by the Court, the Murray factors present ample cause to grant

13   certification.

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                                                                              CALFO EAKES & OSTROVSKY LLP
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 1   III.   CONCLUSION

 2          For the foregoing reasons, Playtika respectfully requests that the Court certify the issues

 3   set forth in its initial motion to the Washington Supreme Court.

 4   DATED this 10th day of April, 2020.
                                                  CALFO EAKES & OSTROVSKY LLP
 5

 6
                                                  By:      s/ Emily Dodds Powell
 7                                                      Angelo J. Calfo, WSBA #27079
                                                        Emily Dodds Powell, WSBA #49351
 8                                                      1301 Second Avenue, Suite 2800
                                                        Seattle, WA 98101
 9                                                      Phone: (206) 407-2200
                                                        Fax: (206) 407-2224
10                                                      Email: angeloc@calfoeakes.com
                                                                  emilyp@calfoeakes.com
11

12                                                PAUL HASTINGS LLP
13                                                      Behnam Dayanim (pro hac vice)
                                                        875 15th Street, NW
14                                                      Washington, DC 20005
                                                        Phone: (202) 551-1737
15                                                      Email: bdayanim@paulhastings.com
16                                                      Andy LeGolvan, WSBA #53418
                                                        4747 Executive Drive Twelfth Floor
17
                                                        San Diego, CA 92121
18                                                      Phone: (858) 458-3006
                                                        Email: andylegolvan@paulhastings.com
19
                                                  Attorneys for Defendant Playtika Ltd
20

21

22

23

24

25

26
       PLAYTIKA, LTD’S REPLY IN                                                          LAW OFFICES
                                                                             CALFO EAKES & OSTROVSKY LLP
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